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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA > CRIM. NO. 3:CR-19-09

Vv.

(JUDGE MANNION)
BRUCE EVANS, SR., and -
BRUCE EVANS, JR.,

 

Defendants
Wie iat LE
SUPERSEDING INDICTMENT May MSP Op,
Introduction PER ' 202
At-times material to this Superseding Indichnent: “Pry LER

1. The defendant, Bruce EVANS, SR. (EVANS SR.), resided in
Greenfield Township, Pennsylvania.

2. Defendant EVANS SR. has been one of the three Greenfield
Township Supervisors since 1985. In addition, he was one of five
members of the Greenfield Township Sewer Authority Board, and the ;
paid Manager of the Greenfield Township Sewer Authority (GTSA).
Defendant EVANS SR. was an employee of both Greenfield Township
and the GTSA, and did serve as the Township’s “roadmaster’.

Defendant EVANS SR. currently is a Greenfield Township Supervisor.
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Defendant EVANS SR. also serves as an assistant fire chief for the
Greenfield Township Volunteer Fire Department.

3. The Greenfield Township Board of Supervisors appointed
defendant EVANS SR. to the GTSA Board im and around 1996.
Defendant EVANS SR. shortly thereafter became the paid manager of
the GTSA.

4. Defendant EVANS SR. resigned from the GTSA Board in
January, 2018, and the Board fired him and defendant EVANS JR. in
| February, 2018, from their paid positions.

5. Defendant EVANS SR. also operated a business-called B&R
Sales which, among other things, repaired “grinder pumps”. GTSA
customers had to use grinder pumps to discharge wastewater into the
GTSA sewer system.

6. Defendant EVANS SR. also owned Finch Hill Water
Company which provided drinking water to approximately 30
customers in the Township. Defendant EVANS SR. hired a contractor
to operate his drinking water plant.

7. Defendant EVANS SR. was not licensed by the Pennsylvania
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Department of Environmental Protection (PADEP) as a wastewater or
water treatment operator.

8. Defendant EVANS SR. loaned out Township equipment to
business entities without the consent of the Township and without
charging recipients any rental fees. One of the businesses included a
race track where his son, defendant EVANS JR., regularly raced. After
defendant EVANS SR. resigned from the GTSA Board in January,

2018, the GTSA discovered a tanker truck owned by the GT'SA on
defendant EVANS SR.’s farm lecated on Arnold Road.

9. The defendant, Bruce EVANS, JR.-CEVANS JR.), resided in
Greenfield Township, Pennsylvania.

10. Defendant EVANS JR., the son of defendant EVANS SR.,
submitted a notarized application to PADEP for certification as a
wastewater treatment plant operator on or about June 29, 2017.

PADEP certified defendant EVANS JR. as a wastewater operator on or
about August 17, 2017. Defendant EVANS JR, was an employee of
both Greenfield Township and the GTSA and performed different duties

for each employer.
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11. Defendant EVANS SR. sent defendant EVANS JR.’s
wastewater operator training certification to PADEP on September 26,
2017,

THE CLEAN WATER ACT

12. The Clean Water Act (CWA), 33 U.S.C. § 1251, et seq., is the
Nation’s comprehensive water pollution control statute. The purpose
of the CWA is to restore and maintain the chemical, physical, and
biological integrity of the Nation’s water. In addition, the CWA was
enacted to prevent, reduce, and eliminate water pollution in the United —
States and to conserve the waters of the United States for the protection
and propagation of fish and aquatic life and wildlife, recreational
purposes, and for the use of such waters for public drinking water,
agricultural, and industrial purposes. 33 U.S.C. § 1252(a).

13. Title 33, United States Code, Section 1311 of the CWA,
prohibits the discharge of any pollutant by any person, except in
compliance with provisions of the CWA, including 33 U.S.C. § 1342.

14. The CWA defines a “person” as an individual and a

corporation, 33 U.S.C. § 1362(5), and “any responsible corporate officer,”
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33 U.S.C. § 1319(c)(6); “discharge of a pollutant” as any addition of any
pollutant to navigable waters from any point source, 33 U.S.C. §
1362(1 2); “pollutant” as, among other things, solid waste, sewage,
sewage sludge, chemical wastes, and industrial and agricultural waste
discharged into water, 33 U.S.C. § 1362(6); “navigable waters” as
waters of the United States, 33 U.S.C. § 1362(7); and “point source” as
any discernible, confined, and discrete conveyance from which
pollutants are discharged, including any pipe, ditch, channel, conduit,
and discrete fissure, 33 U.S.C. § 1362(14).

- 15. Title 33, United States Code, Section 1342 of the CWA
authorizes the discharge of pollutants in compliance with a permit
issued under the National Pollution Discharge Elimination System
(NPDES) by the U.S. Environmental Protection Agency (EPA) or a
federally authorized state agency, including the Pennsylvania
Department of Environmental Protection (PADEP).

16. NPDES permits authorize the discharge of pollutants into
surface waters under specified conditions, and impose limits on the type

and amount of pollutants that can be discharged into the waters of the
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United States. 33 U.S.C. §§ 1311(a) and 1342.

17. NPDES permits are specific to each treatment facility.
They contain general operating and maintenance requirements and
numerical pollution limitations. The numerical limits are based on,
among other things, the nature of the pollutants being treated, volume,
treatment capacity, and the nature of the receiving waterway. The
NPDES permits require permit holders to participate in a self-
monitoring program where they must collect samples prior to
discharging treated wastewater into a receiving water, and to conduct
analysis on the effluent (treated wastewater) discharged by the
permitted facility. These permits contain both daily and weekly
monitoring requirements. The permit program relies upon self
monitoring by the permittee. Any failure with respect to self-
monitoring affects the integrity of the regulatory program and can

potentially affect human health and the environment.
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GTSA’S SEWAGE TREATMENT SYSTEM

18. Greenfield Township is a township located in Lackawanna
County, Pennsylvania. The GTSA owns and operates a publicly owned
treatment works (POTW) that consists of sewer lines, two pump
stations and a treatment plant. Greenfield Township appoints the
members of the GTSA Board.

19. The GTSA collection system has two sewer pump stations.
One is located on State Route 106, near the intersection of State Route
106 and Shust Road. The second is located on State Route 247 , near
the intersection of State Route 247 and Highpoint Street. The State
Route 106 pump station is located next to a veterinary clinic. The
pump stations were built in or about 1984. As GTSA Manager,
defendant EVANS SR. was the GTSA official responsible for overseeing
operations of the Authority and reporting to the four other GTSA Board
members and himself as a GTSA Board member. The other members
of the GTSA Board relied on information he provided to make decisions
about operations of the wastewater treatment system, including how

well the treatment plant and its related systems operated, hiring of
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contractors to operate the GTSA plant, needed equipment repairs,
staffing and maintenance, and compliance with federal and state
environmental laws.

20. The GTSA hired an engineering and environmental
consulting firm to operate the treatment plant. As Manager of the
GTSA, defendant EVANS SR. was the GTSA official who dealt with the
contractor on a day-to-day basis for approximately 26 years, and
recommended renewal of the contract and any related cost increases to
the GTSA Board. Defendant EVANS SR. also. dealt regularly with the
Pennsylvania Dep artment of Environmental Protection (PADEP).

GTSA’S CLEAN WATER ACT PERMIT

21. The GTSA wastewater treatment system was subject to the
terms and conditions of Clean Water Act NPDES Permit No. PA
0061671 (Permit), effective May 1, 2009. It was to expire April 30,
2014. The GTSA initiated the process for renewal of the NPDES
Permit on May 28, 2013, with the submittal of a permit renewal

application signed by defendant EVANS SR. on behalf of the GTSA.
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22. Pursuant to Paragraph 3 of the NPDES Permit’s
Introduction, page one, all terms and conditions of the May 1, 2009
NPDES Permit held by the GTSA remain fully in effect and enforceable
until PADEP takes final action on the renewal application. The
PADEP has not approved issuance of a new NPDES Permit because of
various compliance issues related to operation of the GTSA treatment
facility.

23. NPDES Permit No. PA 0061671 authorizes the GTSA to
discharge treated wastewater containing pollutants in limited
quantities and concentrations from its treatment facility located in
Greenfield Township, Lackawanna County, Pennsylvania. The treated
wastewater, the effluent, is discharged via a pipe into an unnamed
stream which flows downstream out of Newton Lake, a natural lake,
and then past the GTSA treatment plant and into Dundaff Creek in
Watershed 4°F.

24. Dundaff Creek flows into the Tunkhannock Creek, which
then flows into the Susquehanna River, a navigable-in-fact waterway of

the United States. The unnamed tributary to Dundaff Creek, Dundaff
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Creek, Tunkhannock Creek, and the Susquehanna River are all waters
of the United States as defined by the Clean Water Act.

25. GTSA’s Permit contains numerical and narrative limitations
on the type, quality and concentrations of pollutants permitted in
discharged wastewater, and establishes compliance monitoring and
reporting and other conditions which the GTSA has to meet to
discharge pollutants into the unnamed tributary. Permit requirements
covered the treatment plant, sewer lines leading to the plant and the
two pump stations which conveyed wastewater to the treatment plant.

26. PADEP personnel were at the GTSA treatment plant or one
of its pump stations at least 27 times in the years 2013-2017.
Defendant EVANS SR. left the GTSA as a Board member and employee
on or about January 2018.

27. The treatment plant consists of a wet well where wastewater
(influent) flows into on arrival at the plant, a splitter box that send
influent to two Sequence Batch Reactors (SBRs), an Ultraviolet (UV)
disinfection unit that replaced the original chlorine disinfection system,

a sludge holding tank, and an outfall that discharges the treated

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effluent to the unnamed tributary of Dundaff Creek.

28. NPDES Permit No. PA 0061671, Part B, Section [.D.2,
required that GTSA at all times maintain in good working order, and
properly operate and maintain all facilities and systems of treatment
and control (and related appurtenances) which were installed and used
by the permittee to achieve compliance with the terms and conditions of
the GTSA Permit. As Manager of the GTSA, defendant EVANS SR.
was responsible for ensuring GTSA’s compliance with the NPDES
Permit and was the authorized recipient and signatory for most
communications to and from PADEP, including all notices of violations.

29. NPDES Permit No. PA 0061671, Part C, Special Condition
Six, provides that collected screenings, slurries, sludges, and other
solids shall be handled and disposed of in compliance with 25 Pa. Code,
Chapters 75, and in a manner equivalent to the requirements indicated
in Chapters 271, 273, 275, 283, and 285 (related to permits and
requirements for landfilling, land application, incinerations, and
storage of sewage sludge), Federal Regulation 40 C.F.R. Part 257,

Pennsylvania Clean Streams Law, Pennsylvania Solid Waste

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Management Act of 1980, and the Federal Clean Water Act and its
amendments.

380. NPDES Permit No. PA 0061671, Part A, Section C.1.
provides, in relevant part, the discharger may not discharge floating
materials, oil, grease, scum, foam, sheen and substance which produce
color, taste turbidity or settle to form deposits in concentration or
amounts sufficient to be, or creating danger of being, inimical to the
water uses to be protected or to human, animal, plant or aquatic life.

31. On April 24, 2013, the PADEP conducted a routine
inspection of the GTSA waste treatment plant facility. PADEP
personnel encountered defendant EVANS SR. pumping the contents of

' the chlorine contact tank, including solids and sewage sludge, onto the
ground and into the grass. At that time, the chlorine contact tank
provided disinfection of wastewater prior to its discharge into the
unnamed tributary of Dundaff Creek.

32. Pumping of the solids and sludge onto the ground violated
‘the NPDES Permit, Part C, Special Condition Six, which outlines the

requirements for the proper collection, handling and disposal of sludges

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and other solids.

33. On October 17, 2017, the PADEP conducted a routine
inspection of the GTSA waste treatment plant facility and encountered
defendant EVANS JR. who was operating the plant that day. PADEP
personnel observed a floating layer of sewage solids covering the entire
surface of a Sequence Batch Reactor (SBR), part of the treatment
process. PADEP personnel also saw an accumulation of sewage solids
in the ultraviolet disinfection unit that had replaced the chlorine
contact tank. During the inspection, accumulated sewage solids,
including shredded paper or plastic, and Sphaerotilus natans (sewage
fungus) were observed in the unnamed tributary immediately below the
GTSA outfall pipe, which is the authorized location where treated
wastewater is discharged into the unnamed tributary. PADEP advised
defendant EVANS JR. of these problems, but he took no action while
the PADEP inspectors were at the facility. These observed site
conditions violated NPDES Permit No. PA 0061671, Part A, Section C.1
and the Permit’s requirement to properly maintain the systems of

treatment and control, NPDES Permit No. PA 0061671, Part B, Section

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D.2.

34. Following the inspection, defendant EVANS SR. sent
PADEP a letter dated October 23, 2017 in which he stated that the
outfall had been cleaned and restored to normal operating condition.

35. On December 12, 2017, agents from the EPA and FBI
executed a federal search warrant at the GTSA treatment plant and
encountered defendants EVANS SR. and EVANS JR. upon arrival.
Agents immediately observed that the GTSA wastewater treatment
plant was discharging, partially treated, at best, sewage, solids and
sludge. A thick brown layer of scum, indicative of too much sludge in
the treatment system, was observed overflowing the SBR reactor. The
sewage solids level in the SBR was elevated to the point that it was
visibly discharging clumps of sewage solids to the UV disinfection unit’s
weir directly into the outfall. As observed during PADEP’s inspection
in October, 2017, shredded paper or plastic, sewage solids, sludge and
Sphaerotilus natans were observed in the unnamed tributary or on its
banks.

36. The conditions observed at the GTSA plant on December 12,

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2017 violated the NPDES Permit No. PA 0061671, Part C, Special
Condition Six, which outlines the requirements for the proper collection,
handling and disposal of sludges and other solids, and Part B, Section

D.2, of the Permit requiring proper operation and maintenance.

THE GRAND JURY CHARGES:
COUNT 1

33 United States Code, § 1319(c)(2)(A)
(Failure to Operate and Maintain in Violation of a CWA Permit)

37. The factual allegations contained in paragraphs 1 through
36 of this Superseding Indictment are incorporated herein.

38. On or about April 2A, 2018, in the Middle District of
Pennsylvania, the defendant,

BRUCE EVANS, SR.

knowingly violated and caused the violation of a permit condition of the
GTSA Permit issued under 33 U.S.C. § 1842, that is, the defendant
knowingly violated Permit conditions by failing to properly supervise,
operate and maintain the GTSA wastewater treatment facility by

intentionally pumping the contents of the chlorine contact tank,

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including solids and sewage sludge, onto the ground and into the grass,
in violation of NPDES Permit No. PA 0061671, Part C, Special
Condition Six.

In violation of Title 33, United States Code, Sections 13811, 1342

and 1319(c)(2)(A), and Title 18 United States Code, Section 2.

THE GRAND JURY FURTHER CHARGES:
COUNT 2

. 83 United States Code, § 1319(c)(2)(A)
(Failure to Operate and Maintain in Violation of a CWA Permit)

39. The factual allegations contained in paragraphs 1] through
36 of this Superseding Indictment are incorporated herein.
40. On or about October 17, 2017, in the Middle District of

Pennsylvania, the defendants,

BRUCE EVANS, SR.
and
BRUCE EVANS, JR.
knowingly violated and caused the violation of a Permit condition of the

GTSA NPDES Permit issued under 33 U.S.C. § 1342, that is, the

defendants knowingly violated Permit conditions by failing to properly

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supervise, operate and maintain the GTSA treatment facility by
knowingly allowing waste materials, including paper and/or plastic,
partially treated sewage and sewage solids, and Sphaerotilus natans
(sewage fungus) to not be properly treated and to accumulate, resulting
in the growth of Sphaerotilus natans below the outfall of the sewage
treatment plant, in the unnamed tributary, in violation of NPDES
Permit No. PA 0061671, Part A, Section C.1.

In violation of Title 33, United States Code, Sections 1311, 1342

and 1319(0)(2)A), and Title 18 United States Code, Section 2.

THE GRAND JURY FURTHER CHARGES:
COUNT 3

33 United States Code, § 1319(c)(2)(A)
(Failure to Operate and Maintain in Violation of a CWA Permit)

Al. The factual allegations contained in paragraphs 1 through
36 of this Superseding Indictment are incorporated herein.
42. On or about October 17, 2017, in the Middle District of

Pennsylvania, the defendants,

BRUCE EVANS, SR.

and

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BRUCE EVANS, JR.

knowingly violated and caused the violation of a Permit condition of the
GTSA NPDES Permit issued under 33 U.S.C. § 1842, that 1s, the
defendants knowingly violated Permit conditions by failing to properly
supervise, operate and maintain the GTSA treatment facility by
knowingly allowing waste materials, including paper and/or plastic,
partially treated sewage and sewage solids, to not be properly treated
and to accumulate below the outfall of the sewage treatment plant in
the unnamed tributary, in violation of NPDES Permit No. PA 0061671,
Part B, Section D.2.

In violation of Title 33, United States Code, Sections 1811, 1842

and 1319(¢)(2)(A), and Title 18 United States Code, Section 2.

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THE GRAND JURY FURTHER CHARGES:
COUNT 4

33 United States Code, § 1319(c)(2)(A)
(Discharge in Violation of a CWA Permit)

43. The factual allegations contained in paragraphs 1 through
36 of this Superseding Indictment are incorporated herein.

Ad, NPDES Permit No. PA 0061671, Part A.I sets forth
numerical limits for certain pollutants and parameters. During the
execution of the federal search warrant on December 12, 2017, a sample
of wastewater was taken at the location authorized by the Permit for
compliance monitoring prior to discharge into the unnamed tributary.
These limits and sample results include:

POLLUTANT LIMIT SAMPLE RESULT
CBOD5 IM - 50 mg/l 170 mg/l
Total Suspended Solids IM - 60 mg/l 122 mg/l

*IM equals Instantaneous Maximum.

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45. On or about December 12, 2017, in the Middle District of

Pennsylvania, the defendants,

BRUCE EVANS, SR.
and

BRUCE EVANS, JR.
knowingly violated and caused the violation of a requirement of the
GTSA Permit issued under 33 U.S.C. § 1342, that is, the defendants
knowingly discharged pollutants, that is, CBOD 5 and Total Suspended
Solids, in excess of the NPDES Permit limits for those pollutants, into
_ the unnamed tributary to Dundaff Creek, in violation of NPDES Permit
No. PA 0061671 Part ALL.

Tn violation of Title 33, United States Code, Sections 1311, 1342,

and 1319(c)(2)(A), and Title 18 United States Code, Section 2.

THE GRAND JURY FURTHER CHARGES:
COUNT 5

33 United States Code, § 1319(c)(2)(A)
(Discharge in Violation of a CWA Permit)

46. The factual allegations contained in paragraphs 1 through

36 of this Superseding Indictment are incorporated herein.

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47. NPDES Permit No. PA 0061671, Part A, Section LA
authorized the GTSA to discharge up to a monthly maximum of 2000
colony-forming units of fecal coliform per 100 milliliters of wastewater
to the unnamed tributary for the months October Ist through April
30th. The monthly permit limit during warmer weather, ie., May Ist
through September 30th, was 200 colony-forming units per 100
milliliters of wastewater. The permit required the GTSA to sample its
discharge weekly for fecal coliforms. GTSA sent its samples to an

outside private laboratory for analysis.

48. For the months of December, 2017 and January, 2018,
GTSA did not submit compliance monitoring data to PADEP for fecal
coliform or other pollutants despite the NPDES’s Permit requirement
that it do so. Ina letter dated February 26, 2018, the GTSA sent a
letter to PADEP explaining that it lacked “reliable data” to submit.

49, NPDES Permit No. PA 0061671, Part A, Section C.1.
provides, in relevant part, that GTSA could not discharge floating
materials, oil, grease, scum, foam, sheen and substance which produce

color, taste, turbidity or settle to form deposits in concentration or

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amounts sufficient to be, or creating danger of being, inimical to the
water uses to be protected or to human, animal, plant or aquatic life.

50. On December 12, 2017, during the execution of the federal
search warrant, a sample was taken of wastewater at the location
specified in the Permit for compliance monitoring. Laboratory analysis
of that sample showed a fecal coliform level of 161,000 colony forming
units per 100 milliliters of wastewater, a level far in excess of the
numerical monthly limits contained in the GTSA NPDES Permit, in
violation of Part A, Section C.1.

51. On or about December 12, 2017, in the Middle District of

Pennsylvania, the defendants,

BRUCE EVANS, SR.
and
BRUCE EVANS, JR.
knowingly violated and caused the violation of a condition of the GTSA
Permit issued under 33 U.S.C. § 1342, that is, the defendants
knowingly discharged a pollutant, that is, Fecal Coliform, into the

unnamed tributary to Dundaff Creek, in violation of NPDES Permit No.

PA 0061671, Part A, Section C.1.

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In violation of Title 33, United States Code, Sections 1811, 1342

and 1319(c)(2)(A), and Title 18 United States Code, Section 2.

THE GRAND JURY FURTHER CHARGES:
COUNT 6

33 United States Code, § 1319(c)(4)
(False Statements in Violation of CWA)

52. The factual allegations contained in paragraphs 1 through
36 of this Superseding Indictment are incorporated herein.

53. NPDES Permit No. PA 0061671, Part B, Section I. D. 1
required the GTSA to employ wastewater plant operators certified by _
the Commonwealth of Pennsylvania.

54, On or about June 29, 2017, in the Middle District of
Pennsylvania, the defendant,
BRUCE EVANS, JR.
knowingly caused false material statements, representations, and
certifications to be made in applications, records, reports, plans, and
other documents filed and required to be maintained under the CWA

and the regulations promulgated thereunder, that is, the defendant

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knowingly submitted and caused to be submitted an “Application for
Certification to Operate Water or Wastewater Systems” to be submitted
to the Pennsylvania Department of Environmental Protection, in
pursuit of a Wastewater Systems Operator’s License required by the
GTSA NPDES Permit, that contained false information regarding his
prior operator’s experience, to wit: the defendant falsely reported part-
time employment with the Greenfield Township Sewer Authority that
involved regularly performing operator duties up to 15 hours per week
from January 2010 to June 2017, when, in fact, he knew he had not
been performing operator duties up to 15 hours per week from January
2010 to June 2017, and had only initiated an internship with the
GTSA’s contracted certified treatment plant operator in or about March
2017.

All in violation of Title 33, United States Code, Section 1319(c)(4),

and Title 18, United States Code, Section 2.

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THE GRAND JURY FURTHER CHARGES:
COUNT 7

33 United States Code, § 1319(c)(2)(A)
(Failure to Notify PADEP in Violation of CWA Permit)

55. The factual allegations contained in paragraphs 1 through
36 of this Superseding Indictment are incorporated herein.

56. The GTSA used two pump stations to assist wastewater in
flowing to the treatment plant. Defendant EVANS SR. rather than
the licensed operator hired by the GTSA Board to operate the treatment
plant, managed and operated the.sewer lines and pump stations.
Defendant EVANS SR. told PADEP personnel on multiple occasions
that he was the “operator” of the pump stations. Defendant EVANS
SR. was not certified by PADEP to operate/manage the pump stations.

57. In general terms, the State Route 106 pump station is
located mostly underground in a concrete vault. It is approximately 8
feet deep and 5 feet wide, and has a capacity of approximately 1,500
gallons. A sewage collection line transports wastewater into the vault,
and pumps then send the wastewater into a sewage main that

transports the sewage to the GTSA wastewater treatment plant

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approximately 2.2 miles away.

58. The concrete vault is covered by a metal cover. Associated
piping is above ground, including a plastic pipe vent for sewer gases.
The pump station also includes a telephonic alarm system which goes
off when floats located in the vault at a predetermined level are
triggered by arise in wastewater. The alarm is triggered to assist in
preventing sewage overflows at the pump station.

59. When the alarm was triggered, the system automatically
dialed defendant EVANS SR.’s cell phone. When the alarm was
triggered and the phone system was not in operation, no one was
notified.

60. Records showed that the alarm system at the State Route
106 pump station dialed defendant EVANS SR.’s cell phone at least 221
times between August 4, 2014 and June 10, 2015. From June 11, 2015
through April 30, 2016, the State Route pump station dialed defendant
EVANS SR.’s cell phone 22 times.

61. A--. + pipe is located in the concrete vault just above

where the alarm floats are set. This 6-inch pipe diverts wastewater

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from the pump station and the GTSA sewer system. This diversion
means any sewage that flows through that pipe is not treated.

62. Beginning in and about September, 2011, defendant EVANS
SR., on behalf of the GTSA, contracted with a long-time friend who
operated a business that hauled “gray water” generated at oil and gas
drilling operations which had become prevalent in the area. The friend
needed a disposal location for “gray water”, a mixture of wash water
and toilet waste stored in tanks at oil and gas drilling operations.

63. The agreement between the owner of the hauling business
and defendant EVANS SR. was never put in writing. The hauler paid
six cents to the GTSA for each gallon of wastewater hauled to the GISA
for treatment. The hauler used tanker trucks ranging in size from
2,500 to 4,700 gallons to transport the wastewater to the GTSA. .

64. A driver would write down the amount of gallons he dumped
in each load on a piece of paper. The driver would take the paper back
to the business owner. ‘The business owner would then send a total

amount of gallons disposed of each month along with payment to the

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GTSA. The owner sent checks periodically to the GTSA office to pay
for disposal.

65. The hauling company disposed of 2,398,250 gallons of “gray
water” at the GTSA between September, 2011, and June 8, 2015. The
amount disposed of each year is as follows:

September — December 2011 — 194,200 gallons
2012 — 550,950 gallons

2018 — 829,100 gallons

2014 — 533,500 gallons

January — June 8, 2015 — 290,500 gallons

66. Defendant EVANS SR. told the hauler where to bring his
trucks for offloading. At first, defendant EVANS SR. had the trucks go
directly to the GTSA treatment plant to discharge their contents.

67. Defendant EVANS SR. then changed the disposal location to
the pump station located at State Route 247 and Highpoint Street near
a restaurant for a short period of time.

68. After receiving complaints from the owner of a nearby

restaurant about odors, defendant EVANS SR. ultimately decided to

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have truck drivers empty their trucks at the pump station located on
State Route 106. Defendant EVANS SR. had the State Route 106
pump station modified so that it could receive hauled-in waste in or
about the summer 2012. Dumping of hauled-in waste began at the
State Route 106 pump station in or about July 2012. Tanker trucks
arrived almost every day, and up to five or six trucks arrived on some
days. These trucks were visible to neighbors. This pump station is
located about 2.2 miles from the wastewater treatment plant.

69. | The State Route 106 pump station vent pipe was altered to
allow a truck driver to quickly connect a hose to the vent pipe. In
order to empty their trucks, drivers attached a hose from the truck to
the quick connect fitting attached to the vent pipe located above ground.
Drivers then pumped the contents of their trucks into the pump station
via the vent pipe rather than opening the metal vault cover. This
process often took less than 10 minutes. Drivers then unhooked the
hose from the vent pipe and drove away.

70. The State Route 106 pump station is located on the west side

of State Route 106. A marshy area is located on the east side of State

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Route 106. A stream flows through the marshy area and then past a
business and residences located near the State Route 106 pump station.
The stream then flows into Fall Brook which in turn flows into the
Lackawanna River.

71. Defendant EVANS SR., on behalf of the GTSA, did not
inform the PADEP that it had been accepting the “gray water” in 2011
and 2012. The PADEP learned that the GTSA was accepting such
waste only when it received a complaint from an individual who lived
near the State Route 106 pump station in April 2018 about odors and
possible sewage overflows at that location and investigated. Such
complaints increased over time as the volume of “gray water” disposed
of at the State Route 106 pump station increased.

72. Onat least one occasion, an individual observed what he
believed to be sewage flowing into the stream described above in
paragraph 70.

73. On or about May 28, 20138, the GTSA applied to renew its
CWA NPDES Permit. The application was signed by defendant

EVANS SR. on behalf of the GTSA and sent to the PADEP. In the

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application, defendant EVANS SR. told the PADEP that the GTSA had
been and would continue to accept approximately 250,000 gallons
annually of hauled-in wastewater from septic tanks that was accepted
and treated by the GTSA.

74. The GTSA accepted 550,950 gallons of hauled-in wastewater
in 2012, more than twice the amount defendant EVANS SR. reported to
the PADEP on the May 28, 2013 GTSA permit renewal application.

75. The GTSA accepted 829,100 gallons of hauled-in wastewater
in 2013, more than three times the amount defendant EVANS SR.
reported to the PADEP on the May 28, 2013 GTSA permit renewal
application.

76. The GTSA accepted 533,500 gallons of hauled-in wastewater
in 2014, more than twice the amount defendant EVANS SR. reported to
the PADEP on the May 28, 2018 GTSA permit renewal application.

77. The GTSA accepted 290,500 gallons of hauled-in wastewater
between January 1 and June 8, 2015, more than the 250,000 gallon
annual amount defendant EVANS SR. reported to the PADEP on the

May 28, 2013 GTSA permit renewal application.

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78. The PADEP did not renew the GTSA’s NPDES Permit
because of compliance issues at the wastewater treatment plant,
including its inability to adequately treat wastewater coming into the
plant. The NPDES Permit issued on May 1, 2009, remained in effect.

79. Defendant EVANS SR. did not notify the PADEP in 2013,
2014, 2015 or in 2016 that the volume of hauled-in wastewater being
treated by the GTSA had greatly exceeded the 250,000 gallon figure he
provided to the PADEP in May, 2018.

80. PADEP clean water regulations require a NPDES permittee
to track and report on the amount of hauled in wastewater sent to a

sewage treatment plant for treatment.

81. The PADEP inspected the GTSA plant on March 6, 2014.
The inspection report provided to defendant EVANS SR. noted that the
GTSA should be reporting the amount of hauled in waste being treated
at the GTSA plant and asked the GTSA to provide the amount of such
waste for the past six months. The GTSA never provided the

requested information.

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82. When the GTSA submitted its monthly Discharge
Monitoring Reports (DMR) to the PADEP, it included a Supplemental
Form which had blocks for reporting the amount of hauled in waste sent
to the GTSA each month for treatment.

83. For the months of April through June, 2015, the GTSA did
not indicate whether it had taken in any hauled-in waste and/or failed
to answer the relevant questions. The PADEP received those DMRs on
May 29, 2015 (April, 2015), June 26, 2015 (May, 2015), and July 28,
2015) (June, 2015). | | |

84. Billing records from the hauler show that it disposed of
31,600 gallons of “gray water” at the State Route 106 pump station in
April, 2015; 50,100 gallons in May, 2015, and 22,600 gallons through
June 10, 2015.

85. GTSA NPDES Permit No. PA 0061671, Part B, Section 1.C.3
required the GTSA to notify the PADEP when it became aware that it
had failed to submit any relevant facts or had submitted incorrect
information in a permit application such as the one defendant EVANS

SR. signed on May 28, 2013, on behalf of the GTSA.

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86. Defendant EVANS SR. failed to notify the PADEP that he
had reported inaccurate amounts of wastewater hauled to the GTSA in
2012 on the 2013 permit application, and he failed to submit correct
information based on the volume discharged in 2013, 2014, and for
approximately the first half of 2015.

87. — On or about June 8, 2015, in the Middle District of
Pennsylvania, the defendant,

BRUCE EVANS SR..,
did knowingly violate a condition of the OTSA’s Clean Water Act
NPDES Permit No. PA0064106, Part B, Section I.C.8, by failing to
notify PADEP as soon as he was aware that the GTSA had submitted
incorrect information in a permit application dated May 28, 2013,
concerning the amount of gallons of “gray water” hauled to the GTSA
wastewater treatment plant for treatment and failing to provide correct
information in subsequent years.

All in violation of Title 33, United States Code Sections 1311, 1842

and 1319(c)(2), and Title 18, United States Code, Section 2.

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THE GRAND JURY FURTHER CHARGES:
COUNTS 8 through 15

33 United States Code, § 1319(c)(2)(A)
(Bypassing the Treatment System Violation of a CWA Permit)

88. The factual allegations contained in paragraphs 1 through
36 and paragraphs 56 through 86 of this Superseding Indictment are
incorporated herein.

89, GTSA NPDES Permit No. PA 0061671, Part A, Section II
Definitions, defines a bypass to be the “intentional diversion of waste
streams from any portion of a treatment facility.”

90. GTSA NPDES Permit No. PA 0061671, Part B, Section LF.2
prohibits the bypassing of the GISA wastewater treatment system
except in cases where essential maintenance has to be performed or
such bypassing is required to avoid loss of life, personal injury or
“severe property damage” and there are no feasible alternatives to such
bypassing.

91. OnJune 10, 2015, PADEP personnel executed an

administrative search warrant at the State Route 106 pump station.

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92. PADEP personnel discovered that the State Route 106 pump
station had a six-inch pipe leading from the concrete vault that diverted
wastewater from the GISA wastewater treatment system.

93. PADEP personnel introduced a mixture of water and green
uranine dye into the pump station to see where wastewater that
entered the bypass pipe would go.

94, The dye test showed that the pipe went under State Route
106 to the marshy area on the other side of State Route 106. The
bypass pipe ended in the marshy area near astream. The end ofthe —
pipe was covered in silt.

95. Untreated wastewater diverted via the bypass pipe emptied
into the marshy area described above and was carried downstream past
businesses and homes. The bypass outlet is located approximately 100
feet from a veterinary clinic, 140 feet from an apartment complex, and
400 feet from homes.

96. The bypass pipe permitted wastewater to be diverted away

from the GTSA wastewater treatment system.

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97. During the search, PADEP personnel noticed that solids had
accumulated in the pipe near the point it left the concrete vault and
headed toward State Route 106. PADEP sampled that material.
Analysis by a PADEP laboratory showed that the sample showed an
elevated level of fecal coliforms of 230,000 colony-forming units per
gram.

98. Fecal coliforms are bacteria generated in the intestines of
warm-blooded animals and are indicators of untreated or improperly
treated wastewater.

99. On May 20, 2015, June 10, 2015, March 16, 2016, and July
26, 2017, PADEP inspectors saw evidence that the volume of
wastewater in the concrete vault had risen so high that it rose past the
bypass pipe to the top of the State Route 106 pump station vault. This
evidence included observations of the high-water line at the top of the
vault and underside of the metal vault cover, and sewage debris
hanging above the bypass pipe.

100. On May 20, 2015, November 28, 2016, and July 26, 2017,

PADEP inspectors observed evidence that sewage had overflowed the

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State Route 106 pump station vault. This evidence included
observation of sewage debris on the ground outside the pump station
vault.

101. On May 29, 2015, the high-water alarm system telephoned
defendant EVANS SR.’s cell phone to alert him that the wastewater
level had risen. On that day, the hauler disposed of 3,500 gallons of
“sray water” into State Route 106 pump station.

102. On June 1, 2015, the high-water alarm system telephoned
defendant EVANS SR.’s cell phone two times to alert him that the
wastewater level had risen. On that day, the hauler disposed of 6,200
gallons of “gray water” into State Route 106 pump station.

103. On June 2, 2015, the high-water alarm system telephoned
defendant EVANS SR.’s cell phone to alert him that the wastewater
level had risen. On that day, the hauler disposed of 1,800 gallons of
“eray water” into State Route 106 pump station,

104. On June 8, 2015, the high-water alarm system telephoned
defendant EVANS SR.’s cell phone to alert him that the wastewater

level had risen. On that day, the hauler disposed of 3,000 gallons of

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“sray water” into the State Route 106 pump station.

105. On June 5, 2015, the high-water alarm system telephoned
defendant EVANS SR.’s cell phone three times to alert him that the
wastewater level had risen. On that day, the hauler disposed of 6,700
gallons of “gray water” into the State Route 106 pump station, and a
nearby neighbor contacted PADEP to report sewage odors.

106. On June 8, 2015, the high-water alarm system telephoned
defendant EVANS SR.’s cell phone to alert him that the wastewater
level had risen. On that day, the hauler disposed of 4,900 gallons of
“gray water” into the State Route 106 pump station. |

107. The hauler ceased discharging into the State Route 106
pump station on or about June 10, 2015, the date of the PADEP
administrative search.

108. On or about the following dates, each date being a separate
count, defendant EVANS SR. knowingly violated a condition of the
GTSA Clean Water Act NPDES Permit No. PA 0064106, that is, by
bypassing the GTSA wastewater treatment system in ways prohibited

by Part B, Section I.F.2. of the Permit.

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COUNT DATE OF BYPASS

8 June 1, 2015

9 June 2, 2015

10 June 38, 2015

11 June 5, 2015

12 June 8, 2015

13 March 16, 2016

14 November 28, 2016

15 July 26, 2017

 

 

 

 

All in violation of Title 33, United States Code, Sections 1811,

1342 and 1319(c)(2) and Title 18, United States Code, Section 2.

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THE GRAND JURY FURTHER CHARGES:

COUNTS 16 through 24

 

33 United States Code, § 1319(c)(2)(A)
(Failure to Notify PADEP of Bypasses and Sewage Overflows in
Violation of a CWA Permit)

109. ‘The factual allegations contained in paragraphs 1 through
36 and paragraphs 56 through 107 of this Superseding Indictment are
incorporated herein.

110. GTSA NPDES Permit No. PA 0061671, Part A, Section
1.C.3.a. and b. required the GTSA to notify PADEP by phone and then
in writing when it experienced incidents “causing or threatening

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pollution...” This included such incidents as bypasses of the
wastewater treatment system or sanitary sewer overflow from any part
of its sewers, pump stations or wastewater treatment plant.

111. A sanitary sewer overflow occurs when untreated
wastewater is discharged from a sanitary sewer system prior to
reaching the headworks of the wastewater treatment plant.

112. PADEP personnel had, on multiple occasions, informed

defendant EVANS SR. in person and in writing that the GTSA was

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required to notify PADEP regarding sanitary sewer overflows.

113. On June 10, 2015, PADEP discovered that the alarm system
was disabled because the phone line had been cut.

114. Bypasses and sanitary sewer overflows occurred on or about
following dates at the State Route 106 pump station; bypasses
occurred on June 1, 2015, June 2, 2015, June 3, 2015, June 5, 2015,
June 8, 2015, March 16, 2016, and July 26, 2017; sanitary sewer
overflows on May 20, 2015, November 28, 2016, and July 26, 2017.

115. On or about the following dates, each date constituting a
separate count, defendant BRUCE EVANS SR. knowingly violated a
permit condition of the GTSA Clean Water Act NPDES Permit No.
PA0064106, that is Part B, Section 1.3.C.a. and b.by knowingly failing

to notify the PADEP of a bypass or a sanitary sewer overflow.

 

 

 

COUNT VIOLATION DATE
16 Bypass June 1, 2015
17 Bypass June 2, 2015

 

 

 

 

 

42.
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18 Bypass June 3, 2015
19 Bypass June 5, 2015
20 Bypass June 8, 2015
21 Bypass March 16, 2016
22 Bypass July 26, 2017
23 Sanitary Sewer Overflow Nov. 28, 2016
24 Sanitary Sewer Overflow July 26, 2017

 

All in violation of Title 33, United States Code, Sections 1311,

1342 and 1319(c)(2), and Title 18, United States Code, Section 2.

THE GRAND JURY FURTHER CHARGES:

116. The factual allegations contained in paragraphs 1 through

COUNTS 25 through 32

18 United States Code, § 1343

(Wire Fraud)

36 of this Superseding Indictment are incorporated herein.

117. As the Manager of the GTSA, defendant EVANS SR. held

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administrative responsibilities for the GT'SA including billing
customers, collection of sewer related bills, ordering supplies,
processing payroll, managing GTSA bills and invoices, and preparing
monthly “Manager’s Reports” submitted to the GTSA Board. In this
role, defendant EVANS SR. exercised control over financial accounts
related to the GTSA.

118. During his tenure as Manager for the GT'SA and as a GTSA
Board Member, defendant EVANS SR. fraudulently, improperly, and
unlawfully converted funds and property of the GTSA for his own .-
personal benefit and unlawful enrichment, and for the benefit and
unlawful enrichment of a family member.

119. It was part of the scheme to defraud that defendant EVANS
SR. obtained for personal use a cell phone and electronic tablet with
AT&T cellular phone and internet service, and used GTSA funds to pay
for such services without authorization or approval of the GTSA Board

and unknown to Board members.

120. It was part of the scheme to defraud that defendant EVANS

SR. routinely fueled his personal vehicle(s) and charged the cost of the

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fuel to the GTSA-held charge account or GTSA credit card without
authorization or approval of the GTSA Board and unknown to Board
members.

121. It was part of the scheme to defraud that defendant EVANS
SR. fraudulently expended GTSA funds to pay for expenses related to
the education and operator’s licensure of his son, defendant EVANS
JR., without authorization or approval of the GTSA Board and
unknown to Board members,

122. lt was part of the scheme to defraud that EVANS SR. used
employees and other resources of the GTSA, while the employees were
being paid by the GTSA, to perform repair work on grinder pumps
pulled for repair from other jurisdictions, namely, the Silver Lake
Township Municipal Authority. Thereafter, the Silver Lake Township
Municipal Authority paid the defendant EVANS SR. for the pump
repair work. Asa result, the defendant EVANS SR. was unlawfully

enriched at the expense of the GTSA.

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123. From on or about February 1, 2014 and continuing through
on or about December 31, 2017, in the Middle District of Pennsylvania,
the defendant,

BRUCE EVANS, SR.

having knowingly devised and intended to devise a material scheme to
defraud the GTSA and to obtain money and property of the GTSA by
means of materially false and fraudulent pretenses, representations
and promises, did for the purpose of executing the scheme and artifice
to defraud, and attempting to do so, knowingly cause to be transmitted
vila wire communications in interstate commerce the payment of the

following fraudulent checks, among others:

COUNT DATE DESCRIPTION

25 April 20, 2017 Check # 8965 issued in the
amount of $88.85 payable to
AT&T

26 June 15, 2017 Check # 8996 issued in the
amount of $90.85 payable to
AT&T

27 April 12, 2017 Check # 8963 issued in the

amount of $310.40 payable to
Lapera Oil Co.

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May 16, 2017

Feb. 11, 2017

May 16, 2017

Nov. 18, 2015

Jan. 14, 2016

Check # 8981 issued in the
amount of $356.25 payable to
Lapera Oil Co.

Check # 8920 issued in the
amount of $328.00 payable to
American Express ending 9-
02004

Check # 8976 issued in the
amount of $247.01 payable to
American Express ending 9-

02004

Check # 8673 issued in the
amount of $639.72 payable to
George R. Everett

Check # 8696 issued in the
amount of $354.01 payable
to George R. Everett

All in violation of Title 18, United States Code, § 1348.

 
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THE GRAND JURY FURTHER CHARGES:
COUNTS 38 through 36

18 United States Code, § 1702
(Obstruction of Correspondence)

124. The factual allegations contained in paragraphs 1 through
36, of this Superseding Indictment are incorporated herein.

125. On or about September 10, 2015, the PADEP mailed a
“Notice of Violation” to the GTSA c/o of defendant EVANS SR.,
- regarding the June 10, 2015 PADEP administrative search warrant
that occurred at the GTSA State Route 106 pump station. Facts
substantiating various NPDES permit violations observed and
documented on June 10, 2015, including a recent sanitary sewage
overflow, were included in the notice.

126, PADEP requested a written response from the GTSA within
15 days of receipt of the September 10, 2015 “Notice of Violation,” and
specifically requested explanations for the causes of the described non-
compliance, as well as the steps taken to insure future compliance with

the GTSA NPDES permit. A copy of a form necessary to report the

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sanitary sewage overflow to the PADEP was included with the notice of
violation to facilitate the required reporting.

127. The September 10, 2015 PADEP “Notice of Violation” was
sent by certified mail to the GTSA c/o defendant EVANS SR. and was
signed for by defendant EVANS SR. on September 14, 2015 as
confirmation of his receipt of same.

128. By letter dated October 30, 2015, defendant EVANS SR.
responded to the PADEP request. The response submitted by
defendant EVANS SR. was deficient in many respects.

129. On December 1, 2015, the PADEP mailed a “Second Notice
of Violation” to the GTSA c/o of defendant EVANS SR., which detailed
the deficiencies in defendant EVANS SR.’s October 30, 2015 response;
requested compliance with its initial request; and again included the
September 10, 2015 “Notice of Violation.”

130. The PADEP wanted to make each member of the GTSA
Board aware of the “Notice of Violation” and the incomplete response

submitted by defendant EVANS SR. The PADEP, therefore, sent each

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individual Board member, including defendant EVANS SR., a copy of
the “Second Notice of Violation” correspondence.

131. The PADEP sent its December 1, 2015 “Second Notice of
Violation” by certified mail individually to each GTSA board member at
the GTSA address.

132. The December 1, 2015 correspondence addressed to each
GTSA Board member individually and sent by certified mail, was
received by defendant EVANS SR. and signed for by defendant EVANS
SR. confirming receipt by him on December 10, 2015.

133. Defendant EVANS SR. thereafter secreted the mailings
intended for each individual GTSA Board member, and obstructed
delivery of said correspondence to each intended recipient.

134. On or about the following dates, each date constituting a
separate count, defendant BRUCE EVANS SR. did secrete and obstruct
delivery of a letter individually addressed to the recipients identified
below, and individually sent certified mail to each recipient at 111
Lakeview Avenue, Carbondale, Pennsylvania, which had been in a Post

Office and an authorized depository for mail matter and in the custody

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of a mail carrier before it had been delivered to the said individuals, to

wit:

 

 

 

 

 

 

 

 

Count Intended Recipient Date
33 Chair, GTSA Board December 10, 2015
b4 Vice-Chair GTSA Board December 10, 2015
35 Treasurer GTSA Board December 10, 2015
36 Secretary GTSA Board December 10, 2015

 

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In violation of Title 18, United States Code, Section 1702.

A TRUE BILL

    

GRAND JURY FOREPERSON

DAVID J. FREED
UNITED STATES ATTORNEY

    
 
    

  
 

  
     

MICHELLE OLSHEFSE
ASSISTANT U.S. ATTORNEY

DATE: 59267 #° By:

  

 

      

 

    

    

 

 
 
  

MARTIN HARRELL 79/4
SPECIAL ASSISTANT AEE

U.S. ATTORNEY

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